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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                   District
                                             __________     of Columbia
                                                         District of __________


          Pharm. Research & Mfrs. of Am., et al.               )
                             Plaintiff                         )
                                v.                             )      Case No.     1:20-cv-3402
        U.S. Dept. of Health & Human Servs., et al.            )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Council for Affordable Health Coverage                                                                       .


Date:          12/15/2020                                                              /s/ Rebecca K. Wood
                                                                                         Attorney’s signature


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